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                 MELLODY E. HUNTLEY v. SOCIAL SECURITY ADMINISTRATION
                               Docket # CH-0752-19-0568-I-1
                                   Appellant Statement
                                      Summary Page


  Case Title : MELLODY E. HUNTLEY v. SOCIAL SECURITY ADMINISTRATION

  Docket Number : CH-0752-19-0568-I-1

  Pleading Title : Appellant Statement

  Filer's Name : Mellody E. Huntley

  Filer's Pleading Role : Appellant


Details about the supporting documentation

N/A




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                 MELLODY E. HUNTLEY v. SOCIAL SECURITY ADMINISTRATION
                               Docket # CH-0752-19-0568-I-1
                                   Appellant Statement
                                     Online Interview

1. Would you like to enter the text online or upload a file containing the pleading?

Enter Online



2. Please enter text of your pleading.

Please be advised, I do not consent to any information stated came from my husband, Edward Huntley,
Jr., or his family. Anyone in possession of my items is "Null & Void." I did not consent to such
release. I did not provide them consent for this Appeal or any such filed in the future. Thank you in
advance. Mellody Estella Maria Huntley 1109 N Oakley Ln Apartment 104 Westmont, IL. 60559
(630) 812-9062 mrsmellodyhuntleyprivacy@gmail.com



3. Does your pleading assert facts that you know from your personal knowledge?

Yes



4. Do you declare, under penalty of perjury, that the facts stated in this pleading are true and correct?

Yes




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                                     Certificate Of Service



         e-Appeal has handled service of the assembled pleading to MSPB and all of the Parties.
                             Following is the list of the Parties in the case:

          Name & Address                         Documents                    Method of Service
          MSPB: Central Regional Office          Appellant Statement          e-Appeal / e-Mail
          Agatha Joseph                          Appellant Statement          e-Appeal / e-Mail
          Appellant Representative
          General Counsel                        Appellant Statement          e-Appeal / e-Mail
          Agency Representative
          James Hail, Esq.                       Appellant Statement          e-Appeal / e-Mail
          Agency Representative
          Jordan Stein                           Appellant Statement          e-Appeal / e-Mail
          Agency Representative




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